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                     UNITED STATES DISTRICT
                 NORTHERN DISTRICT OF CALIFORNIA


                 DOCUMENT LOCATOR


Case No.:                 CR -01-20138-RMW

Date Filed:                   April 1, 2009

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